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IN THE UNITED sTATES DISTRICT coURT . APR 27 UHI 5\,,//
at _____’oclock and 3]"“~7 _______min _::M
FoR\THE DISTRICT oF HAWAII SUEBHWA€LERKW '

UNITED STATES OF AMERICA, MAG. NO. 11-0409 BMK

Plaintiff, CRIMINAL COMPLAINT;
AFFIDAVIT IN SUPPORT OF

VS. CRIMINAL COMPLAINT

DOMINIC P. SINGLETON,

Defendant.

V\/vvv\/\/\/\/V

 

CRIMINAL COMPLAINT
I, the undersigned complainant, being duly sworn, state the
following is true and correct to the best of my knowledge and
belief.
COUNT l

On or about April 25, 2011, in the District of Hawaii and
elsewhere, the defendant, DOMINIC P. SINGLETON, knowingly and
willfully deposit for conveyance in the mail and for a delivery
from a post office and by a letter carrier a letter, paper,
writing, print, missive, and document containing a threat to take
the life of and to inflict bodily harm upon the President of the
United States, to wit: SINGLETON sent a letter to the United
States Army recruiting office in Aiea, Hawaii and stated that he
would “shoot the USA President right in the heart.”

All in violation of Title 18, United States Code, Section
871.

I further state that I am a Special Agent with the United

States Secret Service, and that this complaint is based upon the

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facts set forth in the attached “Affidavit in Support of Criminal

Complaint,” which is incorporated herein by reference.

 
  

  

,

TRAVIS K. TORCO
COMPLAINANT

   
 
 
   

before me on
onolulu, Hawaii.

 

BARRY . KA{J,B¢F€EN
UNIT D STATES MAGISTRATE JUDG
District of Hawaii

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, TRAVIS K. TORCO, being duly sworn upon his Oath,
deposes and says:

1. I am a Special Agent with the United States
Secret Service (“USSS”), currently assigned to the Honolulu
Field Office in Hawaii. I am familiar with the facts set
forth in this affidavit based upon my personal knowledge
and information provided to me by witnesses;

2. On April 25, 2011, United States Army Captain
iLogan Kerschner (“Captain Kerschner”) contacted this
affiant at the Honolulu Field‘Office and communicated that
threatening statements were made to the President of the
United States (“POTUS”) on a letter mailed to a local
United States Army Recruiting Station (“USARS&). Captain
Kerschner provided your affiant a scanned copy of the
letter and envelope. This affiant then discovered the
following'information:

3.- On April 25, 2011, a letter postmarked on April
21, 2611 was received and opened by United States Army
Staff Sergeant Thompson Talanco at USARS located at 98-151,
Pali Momi Street #106, Aiea, Hawaii, 96701. The envelope
had a return address of “Dominic Paul Singleton, a1017921,
c/o OCCC Module 7 Quad 2 R111, 2199 Kamehameha Hwy,

Honolulu, HI 96819-2307.” The contents of the one (1)

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page, hand written, letter included statements such as, but
not limited to “m(sic) Im Planing to get out of Jail get
some ID get on a Planem(sic) steal my Dads 22 rifeful and
his 38 pistal an Plan it Right an go to where the United
States President of America Alboma Braekoa is an shoot the
USA President Right in the heart or Right in the Jegulars
or Right in the middle of the headm(sic).”

4. This affiant discovered a male, later identified
as Dominic SINGLETON (“SINGLETON”) (Caucasian male, Social
Security Number XXX-XX-0280, Date of birth XX/XX/73), was
presently incarcerated at the Oahu Community Correctional
Center (OCCC) located at 2199 Kamehameha Highway, Honolulu,'
HI 96819 since or around March 23, 2011. v

5. On April 26, 2011, this affiant and SA Kale
Cockett (“SA Cockett”) located and interviewed SINGLETON at
OCCC. As SINGLETON was shown a copy of the envelope and
contents of the letter, SINGLETON admitted to writing the
letter with threats against POTUS, signing the letter with
“SINGLETON,” addressing the envelope, and mailing it to the
USARS from OCCC. SINGLETON also stated he mailed the same
letter in two (2) other separate envelopes and addressed
them to the FBI and the United States Secret Service on or

around April 21, 2011.

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6. SINGLETON then read to this affiant and SA
Cockett the entirety of the letter addressed to USARS and
stated he wrote the letter and threatened to kill POTUS
because POTUS “slewed” and “killed” his daughters five (5)
years ago. In addition, SINGLETON further stated to this
affiant and SA Cockett, “m(sic) I want to go back to the
mainland to shoot the President of the United States of
Americam(sic) I want to use a Mjl rifle or a rifle that
takes .358 rounds and shoot the President while moving in
his motorcadem(sic) I want to make a name for myself and it
will be self rewarding.”

7. 4 On April 26, 2011, this affiant and SA Cockett
then contacted the mental health unit of OCCC in regards to
SINGLETON. OCCC Dr. Bruce Kam stated SINGLETON also sent
an inter-unit request to the OCCC Mental Health Doctor on
April 19, 2011. A copy of this one (1) page, hand written,
inter-unit request identified inmate SINGLETON as its
writer which is supported with his signature. The inter-
unit request stated, “When Im going too get out an get out
Jail Im going home too Seattle Washington I’m going to Plan
an carry out the Plan too Shoot the President Alboma
Barrackea of the`United States of America (sic).”

Based on the information stated above, I believe there

is probable cause to believe that Dominic Paul SINGLETON,

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knowingly and willfully threatened to assault or murder the
President of the United States of America Barack Obama, in

violation of Title 18, United States Code, Section 871.

TRAvIs K. ToRco
Special Agent

United States Secret Service

This Criminal Complaint and Agent's Affidavit in support
thereof were presented to, approved by, and probable cause
to believe that the defendant above named committed the
charged crime found to exist by the undersigned Judicial

Officer at §)Go¢» § m on April 27, 2011.

Subscribed to and sworn before me on April 27, 2011, in
Honolulu, Haw ii. '

    
 
 

 

 

 

 

UNITED TE§:MA@ISTRATE
Distr` t of Hawaii

